Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 1 of 22 PAGEID #: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
ADRIAN BURTON CASE NO.
Plaintiff,
v.
MEDPACE, INC.
Defendant.
NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Medpace, Inc. (hereinafter
“Medpace” or “Defendant”) hereby removes this case from the Court of Common Pleas of Hamilton
County, Ohio, on the following grounds:

1. Medpace is the sole named Defendant in a civil action instituted in the Court of
Common Pleas of Hamilton County, Ohio, captioned Adrian Burton v. Medpace, Inc., Case No.
A2100568 (the “State Court Action”), of which a Complaint was filed on February 15, 2021 by
Plaintiff Adrian Burton (“Plaintiff”) alleging racial discrimination, sex/gender discrimination, and
retaliation under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e, disability
discrimination under the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101 et
seq., and related state law claims under Ohio R.C. § 4112 ef seg.

’ 2. Thirty days have not elapsed since the action became removable to this Court.

Therefore, this Notice is timely pursuant to 28 U.S.C. § 1446(b)(3).

16121028v1
Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 2 of 22 PAGEID #: 2

Bt Medpace is the only Defendant in this action. Therefore, no other party’s consent is
required for removal.

4. Removal of the State Court Action is proper pursuant to 28 U.S.C. §§ 1331, 1441,
and 1446.

» Removal jurisdiction exists where a federal district court would have original
jurisdiction over a claim. 28 U.S.C. § 1441(a). A federal district court has jurisdiction over “all civil
actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. A
case arises under federal law when an issue of federal law appears on the face of a well-pleaded
complaint. Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 63, 107 S.Ct. 1541, 1546, 95 L.E.2d
55, 62-63 (1987). Plaintiff presented a federal question on the face of her Complaint by alleging
violations of Title VII, 42 U.S.C. § 2000e and of the ADA, 42 U.S.C. § 12101 et seg.

6. Plaintiff's Complaint also alleges related state law claims under Ohio Revised Code
§4112.99. This Court may exercise supplemental jurisdiction over Plaintiff's state law claims
pursuant to 28 U.S.C. § 1367 because her state law claims are identical to Plaintiff's Title VII and
ADA claims over which this Court has original jurisdiction, such that they “form the same case or
controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).

7. Plaintiffs Complaint does not raise novel or complex issues of state law, the state
law claims do not substantially predominate over the federal question, and there are no exceptional
circumstances or other compelling reasons for declining jurisdiction. 28 U.S.C. § 1367(c).

8. This Court is the proper venue for removal because Hamilton County, Ohio is located
within the United States District Court for the Southern District of Ohio, Western Division. 28

U.S.C. § 1441(a).

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Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 3 of 22 PAGEID #: 3

9. Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and order received
by Medpace in the State Court Action is attached hereto as Exhibit A.

10. Pursuant to 28 U.S.C. § 1446(d), Medpace will promptly serve written notice of this
Notice of Removal on Plaintiff and will file a copy of the Notice of Removal with the Court of
Common Pleas, Hamilton County, Ohio, thereby effecting removal and staying the state court
proceedings.

WHEREFORE, Defendant, Medpace, Inc. gives notice of the removal of the civil action
captioned Adrian Burton v. Medpace, Inc., Case No. A2100568, in the Court of Common Pleas of
Hamilton County, Ohio, which, upon receipt of a copy of this Notice of Removal, shall proceed no
further.

Respectfully submitted,

/s/ Jeffrey P. McSherry

Jeffrey P. McSherry (0055993)
Bricker & Eckler LLP

201 East Fifth Street, Suite 1110
Cincinnati, Ohio 45202
Telephone: 513-870-6686
Facsimile: 513-870-6699
jmcsherry@bricker.com

Attorney for Defendant
Medpace, Inc.

16121028v1
Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 4 of 22 PAGEID #: 4

CERTIFICATE OF SERVICE

I hereby certify that on March 15, 2021, I electronically filed the foregoing document with the Clerk
of the Court using the ECF system. I also served a copy of the Notice of Removal by electronic mail on

March 15, 2021 upon the following:

Matthew G. Bruce

Evan R. McFarland

The Spitz Law Firm

Spectrum Office Tower

11260 Chester Road, Suite 825
Cincinnati, OH 45246
evan.mcfarland@spitzlawfirm.com
matthew. bruce@spitzlawfirm.com
Attorneys for Plaintiff

Adrian Burton
/s/ Jeffrey P. McSherry

Jeffrey P. McSherry

16121028v1
Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 5 of 22 PAGEID #: 5

COURT OF COMMON PLEAS
HAMILTON COUNTY, OHIO

ADRIAN BURTON
PLAINTIFF
Use below number on
all future pleadings
-——- vs -—
No. A 2100568
SUMMONS
MEDPACE INC
DEFENDANT

MEDPACE INC
5355 MEDPACE WAY D-1
CINCINNATI OH 45227

You are notified
that you have been named Defendant(s) in a complaint filed by

ADRIAN BURTON

3924 YEARLING CT

APT 1B

CINCINNATI OH 45211

Plaintiff(s)

in the Hamilton County, COMMON PLEAS CIVIL Division,
AFTAB PUREVAL, 1000 MAIN STREET ROOM 315,
CINCINNATI, OH 45202.
You are hereby summoned and required to serve upon the plaintiff's
attorney, or upon the plaintiff, if he/she has no attorney of record, a
copy of an answer to the complaint within twenty-eight (28) days after
service of this summons on you, exclusive of the day of service. Your
answer must be filed with the Court within three (3) days after the
service of a copy of the answer on the plaintiff's attorney.

Further, pursuant to Local Rule 10 of Hamilton County, you are also required to
file a Notification Form to receive notice of all future hearings.

If you fail to appear and defend, judgement by default will be rendered
against you for the relief demanded in the attached complaint.

Name and Address of attorney AFTAB PUREVAL
MATTHEW G BRUCE Clerk, Court of Common Pleas
11260 CHESTER ROAD Hamilton County, Ohio
SUITE 825
CINCINNATI OH 45246

By RICK HOFMANN

Deputy
Date: February 19, 2021

D131103455

EXHIBIT

 
 

AFTAB PUREVAL
HAMILTON COUNTY CLERK OF COURTS

COMMON PLEAS DIVISION

ELECTRONICALLY FILED
February 15, 2021 05:18 PM
AFTAB PUREVAL
Clerk of Courts
Hamilton County, Ohio
CONFIRMATION 1034432

ADRIAN BURTON A 2100568

VS.
MEDPACE INC

FILING TYPE: INITIAL FILING (IN COUNTY) WITH JURY
DEMAND

PAGES FILED: 16

  

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VERIFY RECORD
IN THE COURT OF COMMON PLEAS

 

 

 

HAMILTON COUNTY, OHIO
ADRIAN BURTON ) CASE NO,
3924 Yearling Ct., Apt. 1B )
Cincinnati, OH 45211 ) JUDGE:
Plaintiff,
a COMPLAINT FOR DAMAGES
AND INJUNCTIVE RELIEF
MEDPACE, INC. )
qe eee pace Way ) JURY DEMAND ENDORSED
Cincinnati, OH 45227 ) HEREIN
) —
Serve Also: )
Medpace, Inc. )
c/o Stephen Paul Ewald (Stat. Agent) )
5375 Medpace Way )
Cincinnati, OH 45227 )
Defendant.

Plaintiff Adrian Burton, by and through undersigned counsel, as her Complaint against the
Defendant, states and avers the following:
PARTIES

1. Burton is a resident of the city of Cincinnati, Hamilton County, state of Ohio.

2. Defendant MEDPACE, INC. (“MedPace”) is a domestic company that conducts business
with the state of Ohio and the United States.

3. At all times referenced herein, MedPace was Burton’s employer within the meaning of
Title VII of the Civil Rights Act of 1964 (“Title VII’) 42 U.S.C §2000e, the Americans
with Disability Act (“ADA”) 42 U.S.C. § 12101, and Ohio R.C. §4112 et seq.

JURISDICTION & VENUE

4. All of the material events alleged in this Complaint occurred in or around Pike County, Ohio.
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Therefore, personal jurisdiction is proper over Defendant pursuant to R.C. §
2307.382(A)(1), (3), and/or (4).

Venue is proper pursuant to Civ. R. 3(C)(1), (2), (3), and/or (6).

This Court is a court of general jurisdiction over the claims presented herein, including all
subject matters of this Complaint.

Within 300 days of the conduct alleged below, Burton filed a Charge of Discrimination
with the Equal Employment Opportunity Commission (““EEOC”, Charge No. 473-2020-
01098) against Defendant (“EEOC Charge”).

On or about December 7, 2020, the EEOC issued and mailed a Dismissal and Notice of
Rights letter to Burton regarding the EEOC Charge.

Burton received the Dismissal and Notice of Rights from the EEOC in accordance with 42

U.S.C. § 2000e-5({)(1), which has been attached hereto as Plaintiff's Exhibit 1.

. Burton has filed this Complaint on or before the 90-day deadline set forth in the Dismissal

and Notice of Rights.
Burton has properly exhausted all administrative remedies pursuant to 29 C.F.R. §
1614.407(b).

FACTS
Burton is a former employee of MedPace.
Burton is African American, a female/woman, and has diabetes, asthma, high blood
pressure, and an eye injury (described infra), and thus is in protected class for her race,
sex/gender, and disabilities, respectively.
Burton worked for Medpace as a security officer from October 1, 2019, until MedPace

terminated Burton’s employment on or about January 24, 2020.
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Upon information and belief, Burton was replaced after her termination by an able-bodied
Caucasian woman.

Burton started with Medpace via Whelan Security in or around July 2019.

Burton initially interviewed with Randy Aliff (security supervisor, Caucasian, left
Medpace in or around August 2019), Chris Pfaf (facilities director, Caucasian), and Sarah
Johnson (facilities manager, Caucasian).

Burton’s early employment was overall positive, and she received her full-time hire to
Medpace starting in October 2019.

In or around late September 2019, Elizabeth Gosian (facilities manager, Caucasian) took
over as Burton’s supervisor and James Christian (Caucasian, security supervisor) was
hired.

In or around October 2019 while Burton was watching the security monitors, Gosian
reported to Burton that she and Pfaf viewed Burton as overly “cocky” and that Medpace,
as a result, may not be the best place for her to work.

Gosian also commented that Burton was good at her job, but that her cockiness was
unappealing.

Gosian cited an example of Rob (LNU, Caucasian)’s hire to Burton.

During that process, Burton had commented at the time that she hoped that the new hire,
whomever it may be, did not plan on sitting in the office all day doing nothing (meaning
only watching the security monitors).

Sue Lynn Bradley (receptionist, Caucasian) and Ashley (LNU, receptionist, Caucasian)

had evidently reported this information to Gosian.
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On or about October 25, 2019, Mark (LNU, custodial manager, Caucasian) had his final

day of work at Medpace — he purportedly resigned at that point due to bad interactions with
the company.

Mark (LNU) had been overseeing Medpace’s outsourced custodial staff (via Blue Chip)
and was an equal opportunity manager for his subordinates.

The custodial staff was short that day, so Burton offered to help them during her downtime.
Mark (LNU) thanked her for the offer but told her to speak to her supervisor (Christian)
first. Christian approved.

As Burton was helping the custodians, Bradley walked by and seemed unhappy that Burton
was helping.

Gosian stopped by shortly after and asked what Burton was doing.

Burton said she had down time, and Gosian gave her a look, seemingly a “why help the
help?” look, in response.

Burton did not mention she had permission to help from Christian at that time.

In or around November 2019 during the first snow of the season, Eric Vickers (third-shift
security, Caucasian) was talking with Burton about the MDX (security’s motor vehicle).
Before getting out the MDX, security is supposed to get the department’s golf cart out of
the shed to warm it up.

Vickers told Burton there was no need to warm up the MDX, so she did not, which upset
Christian.

Christian said bringing out the MDX was part of Burton’s job duties.

Burton asked why not have third-shift take it out since they’re already on site and would

be able to have it ready for first shift.
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Christian mentioned that it was still Burton’s job anyway.

Burton pushed back because of her asthma and how the cold causes problems with her
breathing. Regardless, Burton said she’d figure it out and get it done going forward.
During that same conversation, Burton also asked Christian why she was the only African
American security guard.

Burton said she didn’t mean to imply that Medpace was refusing to hire African Americans,
but she had brought up several people (all African American) as potential hires but none
had been interviewed.

Christian responded by mentioning Donna (LNU), but Donna (LNU) is Caucasian.
Christian later brought up this question to Medpace’s HR department who then reached out
to Burton to discuss the hiring process. This was a protected discrimination complaint.
Later, Christian hired two African Americans into security and another Caucasian female,
who, upon information and belief, was Burton’s eventual replacement.

In or around mid-December 2019, Christian called the security cell phone.

Burton had the phone on her at the time and was in the restroom due to complications
(nausea) from her diabetes medications.

Burton answered the call and Christian told her not to answer the company phone while in
the restroom going forward.

Burton, later, received a negative performance evaluation from Medpace, which cited the
MDxX and her using the company phone in the restroom.

Notably, the same day as the negative evaluation, two Medpace employees had come to
Burton and complimented her work.

On or about January 15, 2020, Burton was having further issues caused by her medications.
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Burton recently had her dosage changed which led to increased nausea as a side effect.

After she warmed up the MDX, she went to the restroom.

While in the restroom, Burton’s son called her. Burton answered and said they’d speak
during her next break.

A few hours later when Burton went on break, she spoke again with her son.

Later that day, Christian approached Burton and said she had been reported for using the
phone in the restroom again.

Burton said that the calls were personal and not on the company phone, but Christian said
taking calls at all was unprofessional.

Burton later went to HR and spoke with Lindsay Bradford (Caucasian).

Burton reported that she felt that Christian was targeting her personal phone use because
of her race and sex/gender and reiterated her concerns about Medpace’s hiring practices.
This was another protected complaint of discrimination.

Bradford repeatedly asked what Burton wanted as a result of the complaint, but Burton
didn’t have any specific requests as she felt this was up to HR’s discretion to act upon.
Because of the lack of other response, Burton mentioned she was considering resigning
(but was not yet resigning) and would take Thursday (January 16, 2020) off for personal
reasons.

Before Burton’s shift on January 17, 2020, she received a terrible eye injury at home.
Burton called off work on the 17th and 18th for recovery and sent in her doctor’s note via
text message.

On or about January 21, 2020, Burton received an email from Brittany Beck (HR leave

specialist) with information on the medical leaves Burton had available.
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Doc #1 Filed: 03/15/21 Page: 13 of 22 PAGEID #: 13

Burton had a follow-up appointment on or about January 24, 2020. After the appointment,
she received a call from Christian.

Burton told Christian she was now officially cleared to return to work.

Christian appreciated that but Bradford needed to talk to Burton prior to returning to work.
Burton then spoke with Bradford, who terminated Burton’s employment citing the use of
her company phone while in the restroom.

Burton did not do this, so pushed back. The termination stood, and Burton returned her
company equipment via Ayesha (LNU, security, African American) within the next few
weeks,

Burton filed several complaints about discrimination at Medpace, both in the company’s
hiring practices and that she felt targeted by Christian because of her race.

Shortly after those complaints (within two months of the first complaint and weeks of the
second), her employment was terminated.

Burton’s employment was terminated just as she was cleared to return to work. This clearly
demonstrates a discriminatory intent behind the termination.

Defendant’s termination of Burton’s employment was an adverse employment action
against her.

Defendant’s purported reason for Burton’s termination was pretext.

Burton was actually discriminated against and terminated due to her race, her sex/gender,
her disability, and/or was retaliated against due to her complaints of discrimination.

As a result of Defendant’s acts and omissions, Burton has and continues to suffer damages.
Doc #:-1 Filed: 03/15/21 Page: 14 of 22 PAGEID #: 14

COUNT I: RACIAL DISCRIMINATION IN VIOLATION OF R.C. §4112, et seq.

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Burton restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.

Burton is African American, and thus is in a protected class for her race.

R.C. § 4112 et seq. provides that it is an unlawful discriminatory practice for an employer
to discriminate against an employee on the basis of the employee’s race.

Defendant treated Burton differently than other similarly situated employees based upon
her race.

Defendant’s purported reason for Burton’s termination was pretext.

Defendant’s termination of Burton was an adverse employment action against her.
Defendant actually terminated Burton’s employment due to her race.

Defendant violated R.C. § 4112 et seq. by terminating Burton because of her race.
Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by treating Burton differently from
other similarly situated employees outside her protected class.

Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their employment
policies in a disparate manner based on Burton’s race.

Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their disciplinary
policies in a disparate manner based on Burton’s race.

Burton incurred emotional distress damages as a result of Defendant’s conduct described
herein.

As a direct and proximate result of Defendant’s acts and omissions, Burton has suffered

and will continue to suffer damages.
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1:21-cy-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 15 of 22 PAGEID #: 15

COUNT II: RACIAL DISCRIMINATION IN VIOLATION OF TITLE VII

Burton restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.
Burton is African American, and thus is in a protected class for her race.

Title VII provides that it is an unlawful discriminatory practice for an employer to
discriminate against an employee on the basis of the employee’s race.
Defendant treated Burton differently than other similarly situated employees based upon
her race.
Defendant’s termination of Burton was an adverse employment action against her.
Defendant’s purported reason for Burton’s termination was pretextual.
Defendant actually terminated Burton’s employment due to her race.
Defendant violated Title VII by terminating Burton because of er race.

Defendant violated Title VII by treating Burton differently from other similarly situated
employees outside her protected class.

Defendant violated Title VII by applying its employment policies in a disparate manner
based on Burton’s race.

Defendant violated Title VII by applying its disciplinary policies in a disparate manner

based on Burton’s race.

100. Burton incurred emotional distress damages as a result of Defendant’s conduct

101.

described herein.
As a direct and proximate result of Defendant’s acts and omissions, Burton has

suffered and will continue to suffer damages.
Doc #1 Filed: 03/15/21 Page: 16 of 22 PAGEFID #: 16

COUNT Il: DISABILITY DISCRIMINATION IN VIOLATION OF R.C. § 4112, ef seq.
102. Burton restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.
103. Burton is in a protected class for her and her family’s disabilities (described supra).
104. R.C. § 4112 et seg. provides that it is an unlawful discriminatory practice for an

employer to discriminate against an employee on the basis of the employee’s disabilities.

105. Defendant treated Burton differently than other similarly situated employees based
upon her disability.

106. MedPace terminated Burton’s employment.

107. Defendant’s purported reason for Burton’s termination was pretext.

108. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by treating Burton

differently from other similarly situated employees outside her protected class.

109. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their
employment policies in a disparate manner based on Burton’ disability.

110. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their
disciplinary policies in a disparate manner based on Burton’ disability.

111. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by constructively

terminating Burton’s employment.

112. Burton incurred emotional distress damages as a result of Defendant’s conduct
described herein.
113. As a direct and proximate result of Defendant’s acts and omissions, Burton has

suffered and will continue to suffer damages.

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Doc #: 1 Filed: 03/15/21 Page: 17 of 22_ PAGEID #: 17

COUNT IV: DISABILITY DISCRIMINATION IN VIOLATION OF THE ADA
114. Burton restates each and every prior paragraph of this Complaint, as if it were fully
restated herein.
115. Burton is in a protected class for his disabilities.
116. The ADA provides that it is an unlawful discriminatory practice for an employer to

discriminate against an employee on the basis of the employee’s disability.

117. Defendant treated Burton differently than other similarly situated employees based
upon her disability.
118. Defendant violated the ADA by treating Burton differently from other similarly

situated employees outside her protected class.
119. Defendant violated the ADA by applying its employment policies in a disparate
manner based on Burton’s disability.
120. Defendant violated the ADA by applying its disciplinary policies in a disparate
manner based on Burton’s disability.
121. Burton incurred emotional distress damages as a result of Defendant’s conduct
described herein.
122. As a direct and proximate result of Defendant’s acts and omissions Burton based

upon race discrimination, Burton has suffered and will continue to suffer damages.

COUNT V: SEX/GENDER DISCRIMINATION IN VIOLATION OF R.C. 4112 et seq.

123. Burton restates each and every prior paragraph of this Complaint, as if it were
fully restated herein.
124. Burton, as a female/woman, is a member of a statutorily protected class based on

her sex/gender under R.C. § 4112 et seq.

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Case-1:21-cy-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 18 of 22 PAGEID #: 18

125. Defendant had notice of Burton’s sex/gender from her hire.

126. Defendant treated Burton differently than other similarly situated employees
based on her sex/gender.

127. Defendant discriminated against Burton on the basis of her sex/gender throughout

her employment with the company.

128. Defendant terminated Burton’s employment.

129. Defendant’s purported reason for Burton’s termination is pretextual.

130. Defendant actually terminated Burton’s employment because of her sex/gender.
131. Defendant violated R.C. § 4112.01 et seq. when they terminated Burton’s

employment based on her sex/gender.

132. Defendant’s discrimination against Burton based on her sex/gender violates R.C.
§ 4112 et seq.
133. As a direct and proximate result of Defendant’s conduct, Burton suffered and will

continue to suffer damages, including economic, emotional distress and physical sickness
damages.

COUNT VI: SEX/GENDER DISCRIMINATION IN VIOLATION OF TITLE VII

134. Burton restates each and every prior paragraph of this Complaint, as if it were
fully restated herein.
135. Burton, as a female/woman, is a member of a statutorily protected class based on

her sex/gender under Title VII.
136. Defendant had notice of Burton’s sex/gender from early in her employment.
137. Defendant treated Burton differently than other similarly situated employees

based on her sex/gender.

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Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 19 of 22 PAGEID #: 19

138. Defendant discriminated against Burton on the basis of her sex/gender throughout

her employment with the company.

139. Defendant terminated Burton’s employment.

140. Defendant’s termination of Burton was an adverse employment action against her.

141. Defendant’s purported reason for Burton’s termination is pretextual.

142. Defendant actually terminated Burton’s employment because of her sex/gender.

143. Defendant’s discrimination against Burton based on her sex/gender violates Title
VI.

144, Defendant violated Title VII when they terminated Burton’s employment based on

her sex/gender.

145. As a direct and proximate result of Defendant’s conduct, Burton suffered and will
continue to suffer damages, including economic, emotional distress and physical sickness
damages.

COUNT VI: RETALIATION

146. Burton restates each and every prior paragraph of this complaint, as if it were fully
restated herein.

147. As a result of the Defendant’s discriminatory conduct described above, Burton
complained of the discrimination, sexual harassment, and disparate treatment she was
experiencing.

148. Subsequent to Burton’s complaints to MedPace, Defendant took adverse
employment actions against Burton, including, but not limited to, terminating her

employment.

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Case:1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 20 of 22 PAGEID #: 20

149. Defendant’s actions were retaliatory in nature based on Burton’s opposition to the
unlawful discriminatory conduct.

150. Pursuant to R.C. § 4112 et seq., Title VII, and the ADA, it is an unlawful
discriminatory practice to discriminate in any manner against any other person because that
person has opposed any unlawful discriminatory practice.

151. As a direct and proximate result of Defendant’s retaliatory discrimination against
and discharge of Burton, she has suffered and will continue to suffer damages.

DEMAND FOR RELIEF
WHEREFORE, Burton demands from Defendant the following:
a) Issue a permanent injunction:
i. Requiring Defendant to abolish discrimination, harassment, and retaliation;
ii. Requiring allocation of significant funding and trained staff to implement all
changes within two years;

iii. Requiring removal or demotion of all supervisors who have engaged in
discrimination, harassment, or retaliation, and failed to meet their legal
responsibility to promptly investigate complaints and/or take effective action to
stop and deter prohibited personnel practices against employees;

iv. Creating a process for the prompt investigation of discrimination, harassment,
or retaliation complaints; and

v. Requiring mandatory and effective training for all employees and supervisors
on discrimination, harassment, and retaliation issues, investigations, and

appropriate corrective actions;

14
Case: 1:21-cv-00177-SJD-KLL Doc #: 1 Filed: 03/15/21 Page: 21 of 22 PAGEID #: 21

b)

An award against Defendant for compensatory and monetary damages to compensate

Burton for physical injury, physical sickness, lost wages, emotional distress, and other

consequential damages, in an amount in excess of $25,000 per claim to be proven at

trial;

An award of punitive damages against Defendant in an amount in excess of $25,000;

An award of reasonable attorneys’ fees and non-taxable costs for Burton’s claims as

allowable under law;

An award of the taxable costs of this action; and

An award of such other relief as this Court may deem necessary and proper.

ir

Respectfully submitted,

/s/ Matthew G. Bruce
Matthew Bruce (0083769)
Trial Attorney
Evan R. McFarland (0096953)
THE Spitz LAW Firm, LLC
Spectrum Office Tower
11260 Chester Road, Suite 825
Cincinnati, OH 45246
Phone: (216 291-0244 x173
Fax: (216) 291-5744
Email: Evan.McFarland@SpitzLawFirm.com
Email: Matthew.Bruce@spitzlawfirm.com

Attorneys for Plaintiff Adrian Burton
Gase-1:21-cy-00177-S.JD-KLL Doc #: 1 Filed: 03/15/21 Page: 22 of 22 PAGEID #: 22

JURY DEMAND

Plaintiff Adrian Burton demands a trial by jury by the maximum number of jurors permitted.

/s/ Matthew G. Bruce
Matthew Bruce (0083769)

16
